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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION

UNITED STATES OF AMERICA,                §
                                         §
v.                                       §   No. 3:15-CR-068-K (BT)
                                         §
DEWAYNE MICHAEL COTTEN,                  §
#50025-177,                              §
          Defendant.                     §


          ORDER ACCEPTING FINDINGS, CONCLUSIONS AND
     RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

        The United States Magistrate Judge made findings, conclusions, and a

recommendation in this case. No objections were filed. The District Court reviewed

the proposed findings, conclusions and recommendation for plain error. Finding none,

the Court ACCEPTS the Findings, Conclusions and Recommendation of the United

States Magistrate Judge.

        IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that the

motion to reduce sentence under 18 U.S.C. § 3582(c)(1)(A) and motion for home

confinement are denied and the motion for time credits is denied without prejudice.


        SO ORDERED.

        Signed July 10th, 2020.

                                       __________________________________
                                       ED KINKEADE
                                       UNITED STATES DISTRICT JUDGE
